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                               UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

                                                   ---x
;;;*;C,                                                        Case   No. l:17-cv-05269
                                   Plaintiff,

                 v.                                            ECF Case

ALLIED POWER MANAGEMENT, LLC,
BERNHARD CAPITAL PARTNERS                                      JURY TRIAL DEMANDED
MANAGEMENT LP, DEAN SACK,
VICTOzuA BOYLE and JOHN DOES l-10,                             Judge Charles R. Norgle

                                                               Magistrate Judge M. David Weisman
                                   Defendants.
                                                ,-----x

              AGREED ORDER FOR A TEMPORARY RESTRAINING ORDER,
              EXPEDITED DISCOVERY. AND PRESERVATION OF EVIDENCE

        This matter having come before the Court on July 26, 2016, at 10:00 am, on Plaintiff

Aptim Corp.'s Emergency Motion for a Temporary Restraining Order and Preliminary

Injunction, and its Emergency Motion for Expedited Discovery and Preservation of Evidence,

notice having been given          to   Defendants,    a hearing having been held, Defendants               having

appeared, and the Court being          fully advised, the Court hereby orders that Plaintiff s Emergency

Motion for a Temporary Restraining Order and its Emergency Motion for Expedited Discovery

and Preservation of Evidence are granted and          it is hereby ORDERED that:

         1.      Defendants, and anyone acting in concert with Defendants, are prohibited from

accessing, using, or disclosing any of       APTIM's Confidential Information;l


         I "Confidential Information" means information that contains trade secrets or nonpublic technical,
commercial, financial, personal, business, or proprietary information, including but not limited to pricing
information, including non-public employee wages or salaries and client billing rates. Nothing herein is intended to
make information "confidential" that is not otherwise confidential under applicable law.
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       2.       Defendants shall not directly or indirectly use APTIM's confidential information

for any reason, including (i) pursuing, soliciting, or otherwise attempting to obtain business from

APTIM's clients; or (ii) recruiting, soliciting, or hiring employees who currently work for

APTIM.

       3.       Defendants shall immediately retum any and          all original files containing
APTIM's confidential, proprietary, and/or trade secret information, in addition to any electronic

duplicates, hard copies, reproductions, summaries, and/or notes made from any and            all of

APTIM's confidential, proprietary, and/or trade secret information that Defendants have in their

possession, custody, or control.

       4.       Defendants shall make available for a forensic examination, pursuant to a protocol

to be agreed upon by the parties, the hardware (including laptops, company computers, USB

drives and other external storage devices) used to obtain and store APTIM's confidential and

trade secret information.

       5.       Defendants Boyle and Sack shall be walled off from and have no involvement in:

(i) any effort by Defendants to     use confidential information to pursue, solicit, or otherwise

attempt to obtain business from APTIM's clients; and (ii) any recruitment, solicitation, or hiring

of employees who currently work for APTIM.

       6.       The parties shall engage in expedited discovery in relation to APTIM's motion for

a preliminary   injunction. The parties shall attempt to agree on a schedule for and the scope of

such discovery. In the event the parties are unable to reach agreement, they may seek a further

order from the Court.

       7.       Subject     to the above,   Defendants shall preserve   all   documents (including

electronically stored information), devices, equipment, and materials           in   whatever form

(including those in or on personal email accounts, phones, laptops, text messaging and social
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media services, etc.) that axe or could be relevant to the allegations in the Complaint, and are

prohibited from altering, deleting, or destoylng any such documents, devices, equipment, or

materials in any form.

       This Order shall remain in effect untit the Courtos ruling on a preliminary injunction, or

further agreement of the Parties.




Entered on this   /*rof     July, 2017
